Case 6:00-cv-06311-DGL-JWF Document177-2 Filed 04/01/09 Page 1 of 66

Exhibit A
Case 6:00-cv-06311-DGL-JWF Document 177-2 Filed 04/01/09 Page 2 of 66

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BRUCE D. KUNSMAN, STEPHEN T. DUNN, : UNITED STATES DISTRICT COURT
CONCETTA LUPPINO, KEVIN D. CASS, : WESTERN DISTRICT OF NEW YORK
ANN ADAMS, ROBERT D. BAYLEY, DONNA E.:

BECKLES, MARSHA BENETTI, DALE :

BRANDON, ENRIQUE J. BROUWER, CORALYN :

BURNS, RICHARD O. CARVILLE, JR., : CIVIL ACTION No.
CHARLES J. CHODAK, THOMAS B. COLE,

RICHARD J. CUTRI, SCOTT A. DAVIS,

FRANKLIN DELL, NICHOLAS J. DESARIO,

LANNY L. DIEKMAN, DAVID M. DONAHUE,

MONICA DUTCHER, GEORGE J. EDWARDS,

RALPH FORMISANO, SANDRA M. FULLER,

NANCY E. GARRETT, TIMOTHY H.

GILBERT, NEAL A, GORLA, EDWARD C.

HANZLIK, GORDON E. HEROD, ROBERT R.

HUNT, JESSE M. HUTCHINSON, LANE E.

JENKINS, KENNETH R. KAISEN, VALERIE

KLICH, NOEL T. KOHN, BRUCE KOSSUTH,

ERIC C. KULLBERG, FAITH FP. KUNES,

JOHN D. LIGHT, PATRICIA M. LIPPOLD, :

VICTORIA N. LORENZETTI, ROBERT E. : AMENDED COMPLAINT
LUTZ, ELLEN M. MACLEOD, MARY MARLAR, :

PAUL JOHN MARSHALL, JACQUELINE 3

MASTRELLA, KATHERINE J. MCCARTHY,

KATHY MCDANIEL, JOSEPH F. :

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MILAZO, ELDEN MORRISON, FRANK R.

MOSEY, KATHLEEN §. MUDD, GERALD D.

NORWOOD, LOUIS N. NOST, SUSAN A.

O' RELLY , ARNOLD C. PALMER,

DONALD R. PHILIPS III, ROBERT J.

PICHTEL, SR., THOMAS W. PIRE,

ROBERT J. POLHEMUS, PATRICIA ANN

RAKE, ERNEST REYES, WILLIAM D.

ROBINSON, IRWIN M. RUBIEN,

KATHLEEN P. SANTELLI, BONNIE :

STRAMER, ARTHUR C. STREB, MARY ELLEN :

SULLIVAN, PEGGY SWAIN, JAMES J.

TANNEY, BARBARA M. TAYLOR, JOHN S.

TENNENT, THOMAS J. TRIESKEY, ANNE M.

TROCANO, JOSEPH A. TUMMINELLI, :

RONALD T. TURK, TIMOTHY D. TURNER, : (CAPTION CONTINUED ON NEXT PAGE)
PETER D. VENTRESS, EARL WAHL, :
Case 6:00-cv-06311-DGL-JWF Document177-2 Filed 04/01/09 Page 3 of 66

JOHN W. WHIPPLE, and JOHN M.
WYSOCKY,
Plaintiffs,

vs.

SALLY L. CONKRIGHT, PATRICIA M.
NAZEMETZ AND LAWRENCE M. BECKER, IN
THEIR CAPACITY AS XEROX CORPORATION
RETIREMENT INCOME GUARANTEE PLAN
ADMINISTRATORS AND AS INDIVIDUALS,
XEROX CORPORATION RETIREMENT INCOME
GUARANTEE PLAN, XEROX CORPORATION,
HEWITT ASSOCIATES, and HEWITT
MANAGEMENT COMPANY LLC,

Defendants.

 

Plaintiffs Bruce D. Kunsman, Stephen T. Dunn, Concetta
Luppino, Kevin D. Cass, Ann Adams, Robert D. Bayley, Donna E.
Beckles, Marsha Benetti, Dale Brandon, Enrique J. Brouwer, Coralyn
Burns, Richard 0. Carville, Jr., Charles J. Chodak, Thomas B. Cole,
Richard J. Cutri, Scott A. Davis, Franklin Dell, Nicholas J.
DeSario, Lanny L. Diekman, David M. Donahue, Monica Dutcher, George
J. Edwards, Ralph Formisano, Sandra M. Fuller, Nancy E. Garrett,
Timothy H. Gilbert, Neal A. Gorla, Edward C. Hanzlik, Gordon E.
Herod, Robert R. Hunt, Jesse M. Hutchinson, Lane E. Jenkins,
Kenneth R. Kaisen, Valerie Klich, Noel T. Kohn, Bruce Kossuth, Eric
C. Kullberg, Faith P. Kunes, John D. Light, Patricia M. Lippold,
Victoria N. Lorenzetti, Robert E. Lutz, Ellen M. MacLeod, Adho
Magee, Mary Marlar, Paul John Marshall, Jacqueline Mastrella,
Katherine J. McCarthy, Kathy McDaniel, Joseph F. McNeil, Jr.,

Robert C. Meyers, Doris Milazo, Elden Morrison, Frank R. Mosey,

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Case 6:00-cv-06311-DGL-JWF Document177-2 Filed 04/01/09 Page 4 of 66

Kathleen S&S. Mudd, Gerald D. Norwood, Louis N. Nost, Susan A.
O'Kelly, Arnold C. Palmer, Donald R. Philips III, Robert Jd.
Pichtel, Sr., Thomas W. Pike, Robert ¢. Polhemus, Patricia Ann
Rake, Ernest Reyes, William D. Robinson, Irwin M. Rubien, Kathleen
P. Santelli, Dennis Staly, Bonnie Stramer, Arthur C. Streb, Mary
Ellen Sullivan, Peggy Swain, James A. Sykes, James J. Tanney,
Barbara M. Taylor, John §. Tennent, Thomas J. Trieskey, Anne M.
Trocano, Joseph A. Tumminelli, Ronald T. Turk, Timothy D. Turner,
Peter D. Ventrass, Earl Wahl, John W. Whipple, and John M. Wysoecky,
hereinafter sometimes collectively referred to as “the similarly
situated plaintiffs” or simply “the plaintiffs," complaining of
defendant Xerox Retirement Income Guarantee Plan (the “Xerox RIGP
Plan”), defendant Sally L. Conkright, defendant Patricia M.
Nazemetz, and defendant Lawrence M. Becker, in their respective
capacities as plan administrator for the Xerox RIGP Plan,
hereinafter sometimes collectively referred to as “the Xerox
defendants” or simply “the defendants,” with respect to Counts
One, Two, and Three of this complaint, and complaining of
Gefendants Conkright, Nazemetz, and Becker individually, defendant
Xerox Corporation, defendant Hewitt Associates, and defendant
Hewitt Management Company LLC, hereinafter sometimes collectively
referred to as “the defendant conspirators” or simply “the
conspirators,” with respect to Count Four of this complaint, state

as follows:

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Case 6:00-cv-06311-DGL-JWF Document177-2 Filed 04/01/09 Page 5 of 66

 

1. This complaint alleges that defendants Becker, Nazemetz,
and Conkright, in their respective capacities as plan
administrators of the defendant Xerox RIGP Plan, violated statutory
provisions of ERISA designed to protect pensioners and violated
fiduciary obligations owad to rehired plan participants such as the
plaintiffs in this action, who are similarly situated to the

plaintiffs in

 

al., Docket No. 00 CV 6311 (W.D.N.Y.), (hereinafter, “the Frommert
action”), mandating that the plaintiffs’ retirement benefits be
recalculated in accordance with the methodology decreed by U.S.
District Judge David G. Larimer to be equitable and appropriate in
the related Frommert action.

2. The claims made in this complaint are deemed to both
relate to and relate back to the claims made in the Frommert
action. That is, at all times relevant to the subject matter of
this complaint, the Xerox defendants had full knowledge of the
existence of the similarly situated plaintiffs named in this action
and their claims.

3. The instant complaint contains prayers for relief in
addition to those set forth in Frommert, thereby incorporating

recent decisions of the United States Supreme Court such as

 

, 547 U.S. 356

(2006). The complaint also asserts additional claims such as those

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Case 6:00-cv-06311-DGL-JWF Document177-2 Filed 04/01/09 Page 6 of 66

brought on behalf of continuously employed plan participants who
are adversely affected by the implementation of the “phantom
account offset,” consisting of the appreciated hypothetical
investment value of lump sum payments or distributions previously
received by the plaintiffs when previously separated from
amployment, based on the issuance of a qualified domestic relations
order (“QDRO”) to retroactively and illegally reduce their
retirement benefits.

4. In Layaou v. Xerox Corp., 238 F.3d 205 (2d Cir. 2001)
(hereinafter “Layaou 2001"), the Second Circuit determined that the
Xerox defendants failed to disclose in SPDs issued prior to the
retirement of plaintiff John Layaou in 1995 the existence of the
phantom account offset and the intention of the Xerox defendants to
apply the phantom account offset when calculating his retirement
benefits. That exact same failure to disclose persists to this day
with respect to the Xerox defendants’ implementation of the phantom
account offset in the event a QDRO in a form acceptable to the
defendant plan administrators resulted in a distribution to a plan
participant’s former spouse.

JURISDICTION AND. VENUE

5. Jurisdiction of the subject matter of this complaint is
predicated upon Section 502(a)(1)(B) of the Employee Retirement
Income Security Act of 1974 ("ERISA"), 29 U.S.C. § 1132 (a) (1) (B),
which provides in pertinent part that a participant in a pension

plan governed by ERISA provisions is entitled to bring suit in

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Case 6:00-cv-06311-DGL-JWF Document177-2 Filed 04/01/09 Page 7 of 66

federal court “[a] to recover benefits due to him under the terms
of his plan, [{b] to enforce his rights under the terms of the plan,
or [c] to clarify his rights to future benefits under the terms of
the plan.”

6. Jurisdiction of the subject matter of this complaint is
also based upon Section 502(a) (2) of ERISA, 29 U.S.C. § 1132(a) (2),
which provides in pertinent part that a plan participant may obtain
relief under ERISA Section 409, 29 U.S.C. § 1109. ERISA Section
409(a) provides in part as follows:

Any person who is a fiduciary with respect to a plan who

breaches any of the responsibilities, obligations, or

duties imposed upon fiduciaries by this subchapter shall

be personally liable to make good to such plan any losses

to the plan resulting from each such breach, and to

restore to such plan any profits of such fiduciary which

have been made through use of assets of the plan by the

fiduciary, and shall be subject to such cther equitable

or remedial relief as the court may deem appropriate,

including removal of such fiduciary.

7. Jurisdiction of the subject matter of this complaint is
also based upon ERISA Section 404{a), 29 U.S.C. §1104(a), which
provides in relevant part that “a fiduciary shall discharge his
duties with respect to a plan solely in the interest of the
participants and beneficiaries and - (A) for the exclusive purpose
of: (i) providing benefits to participants and their
beneficiaries.”

8. Jurisdiction of the subject matter of this complaint is
also based upon Section 502 (a) (3) of ERISA, 29 U.S.C. § 1132 (a) (3),
which provides in pertinent part that a plan participant may bring

a civil action

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Case 6:00-cv-06311-DGL-JWF Document177-2 Filed 04/01/09 Page 8 of 66

(A) to enjoin any act or practice which violates any

provision of this subchapter or the terms of the plan, or

(B) to obtain other appropriate equitable relief (i) to

redress such violations or (ii) to enforce any provisions

of this subchapter or the terms of the plan.

9. Jurisdiction of the subject matter of this complaint is
also predicated on Section 102 of ERISA, 29 U.S.C. §1022, which
provides in pertinent part that summary plan descriptions (“SPDs”)
distributed to participants in pension plans governed by ERISA
provisions must contain information concerning any provisions of
the pension plan dealing with circumstances which may result in the
denial or loas of benefits.

10. Jurisdiction over the state law causes of action alleged
in this Verified Complaint is so closely related to the claims
based on ERISA such that they form a part of the same case and
controversy and therefore ara pendent to the federal cause of
action alleged.

11. Venue of this action is properly laid in the Western
District of New York pursuant to Section 1391(b) of the United
States Judicial Code, 28 U.S.C. § 1391 ({d).

12. Venue of this action is also properly laid in the Western
District of New York because it is intimately related to the claims
made in the Frommert action, which was heard by the Western
District of New York.

13. The relief sought in Counts One, Two, and Three of this

complaint is essentially equitable in nature and should apply to

all persons similarly situated to the plaintiffs because it is

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Case 6:00-cv-06311-DGL-JWF Document177-2 Filed 04/01/09 Page 9 of 66

based on ERISA statutes found by the Second Circuit Court of
Appeals to have been violated by the Xerox defendants.
PARTIES

14. Hach one of the plaintiffs are similarly situated to the
named plaintiffs in the Frommert action. They are or were
participants in the RIGP Plan, were previously separated from
employment, received at the time of such separation a distribution
from the Xerox Retirement Profit Sharing Plan (“the Profit Sharing
Plan”), and were rehired by Xerox prior to the publication and
distribution of the September 1998 SPD. The plaintiffs therefore
constitute a category of employees hereinafter sometimes described
as "Xerox rehires."

15. As declared by District Judge David G. Larimer in
Frommert v. Conkright, 472 F. Supp. 2d 452 (W.D.N.Y¥. 2007)
(hereinafter “Frommert 2007"), “the rulings contained both in the
Second Circuit decision [Frommert v,. Conkright, 433 F.3d 254 (2d
Cir. 2006), (hereinafter “Frommert 2006")] and in this Decision and
Order do seem applicable to all Xerox employees who are similarly
situated to the named plaintiffs." [Emphasis in original.]

16. The essential ruling in Frommert 2906 was that
utilization by the Xerox plan administrators of the phantom account
offset was illegal with respect to plan participants who were
rehired prior to the publication and distribution of the September

1, 1998 SPD.

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Case 6:00-cv-06311-DGL-JWF Document 177-2 Filed 04/01/09 Page 10 of 66

17. In Frommert 2007, Judge Larimer found that the Xerox
general release form -- which defendant Xerox Corporation required
piaintiffs who participated in a voluntary reduction in force
(“VRIF”) or involuntary reduction in force (“IRIF”) to execute --
was unenforceable insofar as the Xerox defendants contended it was
a bar to the claims for enhanced retirement benefits of rehired
plan participants.

18. Each plaintiff named in the caption of this action has
exhausted his or her administrative remedies as required by ERISA
case law or are in the process of exhausting administrative
remedi.as.

19. The exhaustion of administrative remedies requirement
should be deemed to be satisfied in this case because the Xerox
defendants have demonstrated that they will reject any claim
challenging implementation of the phantom account offset.

20. Each plaintiff named in the caption of this action is
more particularly identified on a schedule attached as Exhibit “A”
to this complaint. The schedule indicates his or her address,
original date of hire, the amount of the lump sum payment he or she
received when previcusly separated from employment at Xerox, date
or dates of rehire, and date of retirement, if any.

21. Of the 83 plaintiffs, 29 are still actively employed by
Xerox, and 54 have retired from Xerox.

22. Of the 54 plaintiffs who have retired from Xerox, 50 are

eligible to take down their pension benefits, and 30 have done so.

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Case 6:00-cv-06311-DGL-JWF Document 177-2 Filed 04/01/09 Page 11 of 66

23. Of the 54 plaintiffs who have retired from Xerox, 37 have
executed the Xerox general release form in connection with their
receipt of severance pay or salary continuance.

24. During the time period relevant to this complaint,
defendants Conkright, Nazemetz, and Becker were designated as the
Plan Administrator for the Xerox RIGP Plan.

25. Defendant Xerox Corporation is a party defendant only
with respect to the state law claims sounding in fraud asserted in
Count Four of this complaint. In Frommert v. Conkright, 206 F.
Supp. 2d 435 (2002), Judge Larimer dismissed the claims against
Xerox Corporation under ERISA Section 502 (a) (1) (B) because only the
pension plan and those who administer it may be held liable in an
action to recover plan benefits. Defendant Xerox Corporation is
headquartered at 45 Glover Avenue, Norwalk CT 06856-4505.

26. Defendant Hewitt Associates is an actuary employed by the
Xerox defendants and defendant Xerox Corporation and is a party to
this action with respect to the state law claims sounding in fraud
asserted in Count Four of this complaint. Defendant Hewitt
Management Company LLC is a subsidiary of defendant Hewitt
Associates. The registered agent for defendant Hewitt Associates
in New York is CT Corporation System, 111 Eighth Avenue, New York,

N¥ 10011.

 

27. Plaintiffs Bruce Kunsman, Stephen Dunn, Concetta Luppino,

and Kavin Cass provide examples of the harsh consequences of the

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Case 6:00-cv-06311-DGL-JWF Document 177-2 Filed 04/01/09 Page 12 of 66

wrongful conduct of the Xerox defendants which fully justify the
imposition of remedial injunctive relief.

28. Plaintiff Kunsman began working for Kerox on September
30, 1968, and he received a lump sum payout of $61,623 when he was
separated from employment at Xerox on October 2, 1985.

29. Plaintiff Kunsman was rehired on June 20, 1988, and he
was laid off from Xerox on November 19, 2002 at age 61.

30. On that same day, plaintiff Kunsman attended an exit
interview. Based on his length of service at Xerox, plaintiff
Kunsman reasonably expected that he would receive confirmation that
he was entitled to 52 weeks of severance pay. During the exit
interview, however, plaintiff Kunsman was informed that he would
not receive the severance pay to which he was entitled unless he
signed the Xerox general release form.

31. Plaintiff Kunsman had no choice but to sign the general
release form during the exit interview because he was told that, if
he did not sign the release immediately, he would not receive
severance pay.

32. The aforesaid intimidation tactics by the Xerox
defendants acting in conjunction with defendant Xerox Corporation
were in violation of the contractual provisions of the Xerox
general release form, which, among other protective provisions,
states that the person executing same has 45 days from the date the

release is provided to him to consider it before signing.

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Case 6:00-cv-06311-DGL-JWF Document 177-2 Filed 04/01/09 Page 13 of 66

33. Since his layoff, plaintiff Kunsman has been diagnosed
with rheumatoid arthritis and Sjogren's disease, has had a
cancerous polyp removed from his colon, and has undergone a
prostate cancer procedure. Thus, he has been unable to obtain new
employment. Because of a fall, plaintiff Kunsman’s wife Eileen
also has been unable to work.

34. In February 2004, despite having signed the Xerox general
release form, plaintiff Kunsman received a distribution of
approximately $130,000 stated to be the lump sum value of his
pension entitlement from his participation in the Xerox RIGP Plan.
The December 23, 2003 “Xerox Retirement Income Guarantee Plan
Pension Calculation Statement” attached as Exhibit “B” to this
complaint illustrates the application of the phantom account offset
to substantially reduce plaintiff Kunsman’s lump sum benefit of
more than $600,000 under the standard RIGP benefit formula.

35. In accordance with the methodology adopted by Judge
Larimer in Layaou v. Xerox Corp,, 330 F. Supp. 2d 297 (W.D.N.Y.
2004) (hereinafter “the Layaou 2004 methodology”), plaintiff
Kunsman would have received the approximate sum of $550,000. See
the calculation sheet attached as Exhibit “C” to this complaint.
That amount is exclusive of any proceeds from the settlement in
Anglim v, Xerox Corp., Civ. Action No. B-83-251 (EBB) (hereinafter,
“the Anglim settlement”), or the Provisional Supplement benefit
(“the PSB”), the eligibility for which the Xerox defendants are

obligated to determine in accordance with the December 1989 SPD.

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Case 6:00-cv-06311-DGL-JWF Document 177-2 Filed 04/01/09 Page 14 of 66

Exclusive of the Anglim sattlement and the PSB, plaintiff Kunsman
would receive pursuant to the Layaou 2004 methodology $420,000 more
than was actually paid by the Xerox defendants.

36. The calculation sheet attached as Exhibit “C” also
demonstrates that plaintiff Kunsman would have received the
approximate sum of $315,000, exclusive of the Anglim settlement and
the PSB, as an enhanced retirement benefit pursuant to the New Hire
Methodology (“the NHM”), the methodology championed by the Xerox
defendants in their pending appeal of Frommert 2007. The fact
remains that the methodology favored by the Xerox defendants would
provide plaintiff Kunsman with an additional $185,000, exclusive of
prejudgment interest, the Anglim settlement, and the PSB, to meet
his financial obligations while in retirement status.

37. The only income being received by plaintiff Kunsman and
his wife is Social Security benefits. Accordingly, they face the
possibility of losing their home in the near future unless they
obtain on an interim basis some of the monies which plaintiff
Kunsman was promised as a participant in the Xerox RIGP Plan.

38. Plaintiff Dunn began working for Xerox on March 3, 1977,
and he received a lump sum payout of $25,245 when he separated from
employment at Xerox on February 29, 1984.

39. Plaintiff Dunn was rehired on September 12, 1988, and he
retired from Xerox in October 2006 at age 57 because he believed

that he would be financially able to afford not to work until he

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Case 6:00-cv-06311-DGL-JWF Document 177-2 Filed 04/01/09 Page 15 of 66

turned 59 and one-half, at which point he could begin to draw from
IRA accounts.

40. Plaintiff Dunn obtained information from the Xerox
defendants on January 24, 2008 to the effect that, if he were to
retire at that time, he would receive a pension benefit of $243,156
after applying the phantom account offset. See the document titled
“Xerox Pension Plan - RIGP Pension Calculation Statement” attached
as Exhibit “D” to this complaint.

41. By contrast, plaintiff Dunn would receive approximately
$435,000, exclusive of the Anglim settlement and the PSB, as the
lump sum value of his pension entitlement under the Layaou 2004
methodology as of December 31, 2007. If calculated under the NHM,
plaintiff Dunn would ba entitled to $335,000 as of December 31,
2007, exclusive of the Anglim settlement and the PSB, as more
particularly set forth on the calculation sheet attached as Exhibit
“E” to this complaint.

42. In August 2007, the Xerox Benefits Center informed
plaintiff Dunn that he qualified for the PSB and that the benefit
thereof amounted to $65,798.03. See the “Xerox Provisional Supp
Plan Pension Calculation Statement” attached as Exhibit “F” to this
complaint. Plaintiff Dunn subsequently was inexplicably orally
informed that he did not qualify for the PSB.

43. As a result of the Xerox defendants continuing to apply
the phantom account offset and their change in position about

whether he qualifies for the PSB, plaintiff Dunn has retired

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Case 6:00-cv-06311-DGL-JWF Document 177-2 Filed 04/01/09 Page 16 of 66

without having the pension monies to which he is entitled under the
RIGP Plan to fund his retirement years.

44. Plaintiff Luppino began working for Xerox on March 31,
1969, and she received a lump sum payout of $32,263 when she was
separated from employment at Xerox in August 1983.

45. Plaintiff Luppino was rehired by Xerox on July 19, 1993.
In early 2007, after discussing her employment status with Xerox
human resources personnel, plaintiff Luppino elected to retire
effective January 31, 2007.

46. As a condition to her receipt of severance pay, plaintiff
Luppino executed the Xerox general release forn.

47. A document entitled “Xerox Retirement Income Guarantee
Plan - Informational Notice” dated January 18, 2008, a copy of
which is attached as Exhibit “G” to this complaint, was sent to
plaintiff Luppino to explain her pension benefit and how it was
affected by her prior distribution.

48. The Informational Notice states in relevant part as
follows: “Although you have an active CBRA [cash balance retirement
account] balance of $49,544.83 reflecting the credits that you
earned since your rehire, the benefit payable as of January 17,
2008 is $0.00 per the calculation above.”

49. As demonstrated by the calculation sheet attached as
Exhibit “H” to this complaint, plaintiff Luppino would receive
approximately $275,000, exclusive of the Anglim settlement and the

PSB, as the lump sum value of her pension entitlement under the

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Case 6:00-cv-06311-DGL-JWF Document 177-2 Filed 04/01/09 Page 17 of 66

Layaou 2004 methodology as of December 31, 2007. If calculated
under the NHM as of December 31, 2007, plaintiff Luppino would be
entitled to approximately $150,000, exclusive of the Anglim
settlement and the PSB.

50. The factual circumstances surrounding plaintiff Cass not
only constitute proof that the Xerox defendants continue to
implement the phantom account offset with respect to distributions
of the net lump sum of retirement benefits paid to rehired plan
participants when previously separated from employment but also
demonstrate that the Xerox defendants implement the phantom account
offset in the event a QDRO was accepted, resulting in a
distribution to a plan participant’s former spouse.

51. Plaintiff Cass began working for Xerox in March 1967, and
he received a lump sum payout of approximately $15,000 when he
separated from employment at Xerox in March 1978. Plaintiff Cass
was rehired in March 1982.

52. Plaintiff Cass’s ex-wife received about $78,000 in 2002
pursuant to a QDRO. The payments she received consisted of
$43,783.49 from plaintiff Cass’s CBRA account and $34,931.67 from
his transitional retirement account ["“TRA’].

53. On information and belief, this amount was treated as if
plaintiff Cass had received a distribution which resulted in his
retirement benefits being retroactively reduced so as to eliminate

the accrued benefits he had earned since he was rehired.

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Case 6:00-cv-06311-DGL-JWF Document 177-2 Filed 04/01/09 Page 18 of 66

54. On information and belief, numerous other rehired plan
participants have had the phantom account offset wrongfully applied
to distributions from the RIGP Plan pursuant to a QDRO.

55. As reflected in the calculation sheets attached as
Exhibits “C,” “E,” and “H” to this complaint, plaintiffs Kunsman,
Dunn, and Luppino are unable to ascertain the value of the Anglim
settlement or the PSB. Eligibility for either or both of these
additional retirement benefits must be determined by the Xerox plan
administrators, and they therefore should be compelled to calculate

the lump sum value of these benefits.

 

56. There are three categories of Xerox employees who qualify
to participate in the Xerox RIGP Plan. The first such category are
Xerox employees who have been continuously employed by Xerox since
1977 and had not been separated from employment at least through
the date of this complaint.

57. This first category of Xerox employees is not adversely
impacted by the phantom account offset uniess they are subject to
a QDRO.

58. A second definitive category of Xerox employees are “new
hires” employed by Xerox since January 1, 1990 who have qualified
to be fully vested in the Xerox RIGP Pian and have not had any
break in service since their date of hire. As with continuously

employed Xerox employees, new hires are not subject to application

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Case 6:00-cv-06311-DGL-JWF Document 177-2 Filed 04/01/09 Page 19 of 66

of the phantom account offset unless, subsequent to rehire, they
were subject to a QDRO.

59. <A third definitive category of Xerox employees are Xerox
rehires such as the named plaintiffs in the Frommert action and the
plaintiffs in this case. This category consists of persons
reemployed by Xerox who previously had been separated from
employment after they had qualified to be fully vested under the
Xerox RIGP Plan.

60. Each of the plaintiffs in the third category of Xerox
employees were required by the Xerox defendants to accept lump sum
payments alleged to be the balance of their account in the Profit
Sharing Plan when previously separated from employment. The
plaintiffs in the third category have been adversely impacted by
the application of the phantom account offset based on those lump
sum payments as well as any amounts distributed pursuant to a QDRO.

61. The “pre-amendment” document that is the subject of
Frommert 2006 is the 1989 Restatement of the Xerox RIGP Plan (“the
1989 Restatement”). The SPD that allegedly describes the 1989
Restatement is a document entitled “Planning for a Secure
Retirement” dated December 1989 (“tha December 1989 SPD”), axcerpts
of which are attached as Exhibit “I” to this complaint.

62. The Introduction to the December 1989 SPD under the
caption “Retirement Security and Individual Accounts” states as

follows:

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Case 6:00-cv-06311-DGL-JWF Document 177-2 Filed 04/01/09 Page 20 of 66

The Xerox retirement program combines the advantages of

defined benefit plans and individual accounts. [Emphasis

in original.]

The Xerox retirement program is a hybrid plan, combining
the features of the defined benefit plan and individual
accounts. In the Xerox retirement program, the defined
benefit is backed by individual accounts. [Emphasis in
original.}] If your benefit would provide a greater
benefit than the benefit yielded by the retirement income
guarantee formula, you will receive the higher amount.

Each employee has a cash balance retirement account,
which always increases; it can never suffer negative
investment results. This account grows at a fixed annual
rate. This annual rate, which will be determined before
the beginning of the year and which will vary from year
to year, is based upon the prior calendar year's average
yield of the one-year Treasury bill. ...In addition, your
account will be credited annually with an amount equal to
5 percent of previous year's pay.

Employees who were eligible for profit sharing in 1989

also will hava a transitional retirement account. The

value of this account varies--up or down--depending on

investment results....The benefits that would be provided

by the transitional retirement account will be compared

with both the benefits provided by the cash balance

retirement account and retirement income guarantee. The

employee will receive whichever yields the greatest
benefit.

63. The Introduction to the December 1989 SPD includes, under
the caption “How the Xerox Plans Stack Up,” the promise made by the
Xerox defendants which the Second Circuit in Frommert 2006 and
Judge Larimer in Frommert 2007 have determined they have failed to
honor: “The Xerox retirement income guarantee also exceeds the
ruie of thumb used by many financial planners: If you work for a

company for 30 years, you can expect employer retirement benefits

equal to about 30 percent of pre-retirement pay.”

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Case 6:00-cv-06311-DGL-JWF Document 177-2 Filed 04/01/09 Page 21 of 66

64. Under the caption “Retirement Income Guarantee” in the
RIGP section of the December 1989 SPD, the Xerox Plan
administrators guaranteed to pay plan participants

whichever provides you with the greatest retirement
benefit from these sources:

e Your benefit under the retirement income guarantee
formula (1.4% X highest-average pay X years of
service, up to 30 years and adjusted for early
retirement, if necessary), or

e Your cash balance retirement account, or

e Your transitional retirement account, if any.

If you are eligible for benefits from other Xerox
retirement plans, including predecessor plans, your
benefit from the Retirement Income Guarantee Plan could
be reduced to account for the income you will he
receiving from those plans. [Emphasis in original.] The

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65. The foregoing description of the Retirement Income
Guarantee is consistent with Section 4.3 of the 1989 Restatement
captioned “Retirement Benefits for Members who Retire on or After
January 1, 1990,” with the exception that the SPD does not mention
that Section 4.3 also references the Anglim settlement.

66. The next two paragraphs in the December 1989 SPD set
forth the basis for calculating the plaintiffs’ retirement

benefits:

= means the average of your pay during
your five best-paid calendar years with Xerox after 1974;
these years need not be consecutive. For purposes of the
retirement program, your pay equals your base pay,
overtime, bonuses, commissions and lump-sum wages (except
salary continuance paid as a lump sum), up to the

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Case 6:00-cv-06311-DGL-JWF Document 177-2 Filed 04/01/09 Page 22 of 66

federally mandated limit of $200,000. (This maximum may
be indexed in the future.

The term service, as used in the formula, basically
includes all your years of «4 E With Xerox, up to
a maximum of 30 years.

 

67. The statement that “service” includes “all your years of
employment with Xerox” is in conflict with the definition of “Years
of Service” in the 1989 Restatement, where “Years of Participation”
is used to determine the amount of a member’s standard RIGP annuity
and “Years of Service” is used to determine the number of years
which the member or plan participant is entitled to utilize in
calculating his or her early retirement benefit and other
retirement benefits and options under the Plan.

68. Because the description of the pension benefits provided
to plan participants in the December 1989 SPD is deemed to control
in the event of any conflict, the plaintiffs and all other rehired
plan participants are entitled to rely on the definition of “Years
of Service” as described in the December 1989 SPD.

69. The December 1989 SPD provides examples of how to
calculate retirement benefits for plan participants, including
those who elect to receive early retirement benefits.

Early retirement is defined as retirement after reaching

age 55 and before age 65. If you retire early and you

have fewer than 30 years of service, your retirement

benefits will be reduced by 1/12 of 5 percent for each

month of your age before age 65. With 30 years of

service, your retirement benefits will be reduced by 1/12

of 5 percent for each month before age 62.

See “Example 3: Early retirement.”

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Case 6:00-cv-06311-DGL-JWF Document 177-2 Filed 04/01/09 Page 23 of 66

70.

The December 1989 SPD also addresses the circumstances

under which plan participants such as the plaintiffs have been

rehired.

This section, titled “Reemployment,” states as follows:

If you leave (retirement or termination of employment)
and you return to work at Xerox before a break in service
occurs, the time you did not work at Xerox will be

counted as service for purposes of plan eligibility and
vesting, but not for determining the amount of your
benefits. [Emphasis in original.] However, if you leave
Xerox for any reason and a break in service occurs, the
time you did not work for Xerox will not be counted for
plan eligibility and vesting. j j i

i . {Emphasis added]

71.

In addition to setting forth the Retirement Income

Guarantee, the December 1989 SPD sets forth the qualifications for

the PSB as follows:

The retirement income guarantee formula introduced in
1989 provides, for more than 95 percent of Xerox
employees, a retirement income guarantee that is better
than or equal to the benefit yielded by the old
retirement income guarantee formula. For the average
employee, the new formula typically results in about a 29

percent improvement. [Emphasis in original]

For a few very highly paid employees, the new formula
could result in a lower minimum guarantee. [Emphasis in
eriginal.] To ensure that all employees receive at least
the previous guarantee, the company has made certain
provisions, which become effective January 1, 1990.

 
   

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guarantee, [Emphasis added.] The Social Security offset
used to determine the previous minimum guarantee will he
based on projections of today’s Social Security benefits,
adjusted for inflation using 1989 Social Security
Administration economic projections. If the old formula
does yield a greater minimum, some highly-pai

participants may be entitled to a p LSJ a SMen

[Emphasis in original.]

 
    

      

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Case 6:00-cv-06311-DGL-JWF Document 177-2 Filed 04/01/09 Page 24 of 66

The provisional supplement will make up the difference

between the old retirement income guarantee and the new

retirement income guarantee to the extent that this
difference is not made up by benefits payable from any
other source. Other sources include, but are not limited

to, individual accounts, such as the cash balance

retirement account and transitional retirement account;

the Unfunded Retirement Income Guarantee Plan; and the

Supplemental Executive Ratirament Plan.

The provisional supplement is an unfunded benefit. As

such, it will be paid on an installment basis, from

general assets of the company. It cannot be paid as a

lump sum, nor does it qualify for favorable tax

treatment.

72. The “old retirement income guarantee formula” referenced
in the December 1989 SPD was calculated as follows: 1.667 times
highest average pay times years of service up to thirty years. See
Section 4.2 of the 1987 Restatement of the Xerox RIGP Plan,
excerpts of which area attached as Exhibit “J” to this complaint.

73. The information with respect to eligibility for the PSB
is whelly within the possession of the Xerox defendants.
Injunctive relief is necessary and appropriate because the Xerox
defendants hava failed to honor thea promises made in the December
1989 SPD, which states that, “using tables developed by independent
actuaries, [the Xerex defendants] will, at their retirement,
identify those employees for whom the new formula could produce a
lower guarantee.”

74. +%|%QIn addition, the Xerox defendants have the information to
identify those rehired plan participants who are entitled to

benefits from the Unfunded Retirement Income Guarantee Plan and/or

the Supplemental Executive Retirement Plan and to determine whether

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Case 6:00-cv-06311-DGL-JWF Document 177-2 Filed 04/01/09 Page 25 of 66

the amounts they receive from those unqualified plans offset the
PSB. Because such information is entirely in the possession of the
Xerox defendants, it is an appropriate issue for injunctive relief.

75. While the December 1989 SPD does in fact inform Xerox
employees that the “amount you receive may also be reduced if you

had previously left the company and received a distribution at that

 

[emphasis added], there is no disclosure of the fact that the Xerox

defendants intended to apply the phantom account offset to an
assessment against the xetirement benefits of a Xerox employee
subject to a QDRO.

76. While the September 1998 SPD does inform rehired plan
participants that the phantom account offset will be implemented,
there is no such information regarding the QDRO. The September
1998 SPD provides on page 48 that “Your benefit will be reduced if
Xerox has accepted a Qualified Domestic Relations Order to
distribute a portion of your funds to an alternate payee. For more
information, see page 70.” On page 70, the September 1998 SPD
states as follows:

Generally, payments from any qualified plan cannot be

made to anyone except you, your beneficiary, or your

estate. However, under federal law, if a satisfactory

Qualified Domestic Relations Order (QDRO) is submitted to

Xerox, payments may be made from your account to satisfy

alimony, child support, or marital property rights.

Federal law sets stringent standards that the court must

satisfy in order to be effective. For instance, the

order cannot require payments to be made from the
retirement plan in any manner not permitted by the plan.

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Case 6:00-cv-06311-DGL-JWF Document 177-2 Filed 04/01/09 Page 26 of 66

The QDRO unit at the Xerox benefits center will review

each order submitted. Those that do not comply with

federal law will be returned.

See the excerpts of the September 1998 SPD attached as Exhibit “K”
to this complaint.

77. The description in the September 1998 SPD of the impact
of a QDRO on the calculation of the lump sum value of the pension
entitlement of a participant in the RIGP Plan, whether
continuously employed, rehired, or a new hire, constitutes a
viclation of ERISA requirements with respect to the information
that should be contained in an SPD, as in the related Frommert
action.

78. The disclosure provided in the September 1998 SPD with
respect to the effect on a plan participant’s retirement benefits
because of a QDRO is inaccurate and inadequate. It exactly
parallels the nondisclosure found by the Second Circuit to have
violated ERISA Section 102 in Layaou 2001.

79. On information and belief, the Xerox defendants failed to
disclose the fact in the September 1998 SPD or any subsequent SPD
that the lump sum value of a distribution pursuant to a QDRO would
be illegally reduced by the phantom account offset. This
constitutes a violation of ERISA Section 102.

80. The plaintiffs hereby incorporate the factual findings
and conclusions of law made part of the following reported

decisions:

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Case 6:00-cv-06311-DGL-JWF Document 177-2 Filed 04/01/09 Page 27 of 66

(a) Layaou 2001. The essential holding in Layaou 2001 was
that the Xerox defendants violated ERISA Section 102, 29 U.S.C.
§1022, by failing to disclose in SPDs issued prior to the
retirement of plaintiff John Layaou in 1995 the existence of the
phantom account offset and the intention of the Xerox defendants to
apply the phantom account offset when calculating his retirement
benefits. Layaoy 2001, 238 F.3d at 211-212.

(b) Layaou 2004. In Layaou 2004, the relief determined by
Judge Larimer to be appropriate was what the plaintiffs in this
action refer to as “the Layaou 2004 methodology.”

Setting forth his rationale for adopting this methodology,
Judge Larimer declared:

As the Second Circuit noted [in Layaou 2001], "the only
relevant language in Xerox's SPD states that the amount
you receive may also be reduced if you had previously
left the Company and received a distribution at that
time.'" There is no reference whatsoever to the "phantom
account," either expressly or by description of its
application and effect.

All that a Plan participant would understand from the
SPD, then, is that his benefit would be reduced because
of the prior distribution. He would not know how or to
what extent the benefit would be reduced, although he
might reasonably assume that the administrator would
simply subtract out the value of the prior distribution.

The Second Circuit has observed that "it is of no effect
to publish and distribute a plan summary booklet designed
to simplify and explain a voluminous and complicated
document, and then proclaim that any inconsistencies will
be governed by the plan." In the case at bar, the
conspicuous absence of any reference to or explanation of
the "phantom account" offset, coupled with the annual
benefit statements that had been provided to Layacu,
would clearly have misled him into believing that his
monthly benefit would be considerably higher than it
turned out to be. That mistaken belief would likely have

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Case 6:00-cv-06311-DGL-JWF Document 177-2 Filed 04/01/09 Page 28 of 66

affected plaintiff's financial planning for his upcoming
retirement ...

Having reached this conclusion [that plaintiff Layaou had
established "likely prejudice" as a result of the faulty
SPD], the Court must decide on an appropriate remedy ;
Since it is the SPD, not the Plan itself, that controls
here, and since the SPD did not mention the "phantom
account" offset, I believe that the administrator should
recalculate plaintiff's benefit without using any
"phantom account" at all. In other words, when comparing
plaintiff's three retirement benefit formulas, no
"phantom account" should be added to his CBRA or TRA, nor
should the "phantom account” be subtracted out from his
actual benefit.

That does not mean, of course, that the prior lump-sum
distribution cannot be taken into account at all. Even
the faulty SPD indicated that the participant's "RIGP
benefit may be reduced" if he had received a prior
distribution. It would not be unreasonable, then, for the
administrator to subtract out the amount of the prior
distribution; otherwise, plaintiff would receive a
windfall, since under the RIGP formula he would be
getting credit for all his years of service at Xerox,
including years for which he had already received
benefits. [Citations and footnotes omitted. ]

(c) Fromert 2006. In Frommert 2006, the Second Circuit held
that the Xerox Plan administrators had violated ERISA Section
204(g), prohibiting retroactive reduction of accrued benefits, and
ERISA Section 204(h), requixing that the plan administrator provide
at least 15 days’ prior written notice to each plan participant
describing any proposed plan amendment which would rasult ina
significant reduction in the rate of future accruals. Frommert
2006, 433 F.3d at 263.

The holding of the Second Circuit in Frommert 2006 constitutes
the law of this case binding on the Xerox defendants. As part of

its opinion, the Second Circuit references its holding in

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Case 6:00-cv-06311-DGL-JWF Document 177-2 Filed 04/01/09 Page 29 of 66

Layaou 2001 and held that, where there was a conflict in
interpreting the December 1989 SPD and the language of the 1989
Restatement, the SPD governs. To more particularly state the
holding of the Second Circuit in Frommert 2006, we cite the
following from its January 6, 2006 decision:

[We] find, as a matter of law, that the phantom account
was not part of the Plan until 1998 when it was added by
amendment of the Plan's text through its explanation in
the 1998 SPD. Based on this finding, we hold that
application of the phantom account by the defendants
prior to its inclusion in the Plan by amendment
constituted a prohibited reduction of justified
expectations of rehired employees’ accrued benefits in
contravention of §204(g). We also hold that the
defendants failed to meet their obligations to provide
advance notice of the amendment as required by §204(h),
meaning that the phantom account may not be applied to
employees rehired prior to the issuance of the 1998 SPD.

Like the plaintiffs here, [the plaintiff in Layaou 2001)
had previously been employed by Xerox and taken a
lump-sum distribution at the time of his first separation
from Xerox. Layaou was rehired in 1987 and subsequently
retired in 1995, when the phantom account was applied to
his benefit calculation and reduced his expected benefits
from $ 924 under the RIGP formula to $ 124 under the
CBRA. The only notice that Layaou had received concerning
the non-duplication of his benefits was contained in
Xerox's annual SPD, which simply provided that "the
amount you receive may also be reduced if you had
previously left the Company and received a distribution
at that time." Nowhere did the SPD address the issue of
a phantom account or explain that Layaou's benefits would
be offset by a hypothetically appreciated value of his
prior lump-sum distribution. As a result, we held that
the Plan violated ERISA's SPD requirement, [ERISA Section
102,] 29 U.S.C. § 1022, by failing to "provide notice to
Layaou and other similarly situated employees that their
future benefits would be offset by an appreciated value
of their prior lump-sum benefits distributions."

Even though the instant case does not involve a challenge
under § 1022, the holding in Layaou [2001] is of
significance here because of the central role that the
SPD plays in communicating the terms of a plan to its

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Case 6:00-cv-06311-DGL-JWF Document 177-2 Filed 04/01/09 Page 30 of 66

members. "ERISA ‘contemplates that the [SPD] will be an
employee's primary source of information regarding
employment benefits, and employees are entitled to rely
on the descriptions contained in the summary." Further,
the SPD is of such importance that "where the terms of a
plan and the SPD conflict, the SPD controls."

 

Sustifiably relied. [Emphasis added. ] ... Thus, although
the application of the phantom account does not directly
deplete an employee's pension account, by altering the
comparative process, it imposes a condition on the
payment of benefits that leads just as surely to a

decrease. See Ce E Hein 541
U.S. 739, 744-45 (2004) . eiood on remand in a Western
District of New York case [Layaou 2004] involving this
same Plan, the court reached this exact conclusion when
assessing the impact of the phantom account on the
plaintiff's benefits: "It resulted in a significant
reduction in plaintiff's benefits, compared to what he
would have received without the offset...."

 

We find that this reduction of justified expectations of
benefits tock the form of a retroactive cut-back in
violation of § 204(g). Employees rehired prior to 1998
worked and accrued benefits under a Plan that did not
provide for reduction of their benefits by factoring in
the hypothetical value of a phantom account..

On remand, the remedy crafted by the district court for
those employees rehired prior to 1998 should utilize an
appropriate pre-amendment calculation to determine their
benefits.... As guidance for the district court, we
suggest that it may wish to employ equitable principles
when determining the appropriate calculation and
fashioning the appropriate remedy. [Citations omitted. ]

(d) Frommert 2007. Frommert 2007 held that the Layaou 2004
methodology should be applied when calculating the lump sum value
of the plaintiffs’ retirement benefits. As found by Judge Larimer:

Although the Circuit [in Erommert 2006] clearly precluded

use of the phantom account in determining how to treat

prior distributions, it did little to elucidate what

formula should be adopted, except to suggest using an
“appropriate pre-amendment calculation" guided by

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Case 6:00-cv-06311-DGL-JWF Document 177-2 Filed 04/01/09 Page 31 of 66

equitable principles in determining the appropriate
remedy for affected employees.

I must interpret the [RIGP] Plan as written and consider
what a reasonable employee would have understood to be
the case concerning the effect of prior distributions. If
the employee had no notice of the "phantom account," he
also had no notice of some cf the other mechanisms
suggested by witnesses at the remand hearing before me.
What is "best" from a financial or actuarial point of
view is not what the Court has been charged with
determining. The Court's task, as directed by the Court
of Appeals, is simply to determine, based on the language
of the Plan and the SPD, what benefits are now due this
group of rehired employees.

As the Court of Appeals noted, there was no description
whatsoever [in the pre-amendment SPD] as to the mechanics
of this so-called phantom account. For that reason, the
Second Circuit and other courts rejected the
administrator's utilization of such a mechanism in
calculating benefits.

The question, then, is what, in light of these vague
provisions in the Plan and SPD, this Court should to do
to remedy the violation of ERISA. I believe that the best
course is to do what I did previously in Layaou [2004]
involving a similar remand from the Court of Appeais. In
Layaou [2004], I directed the administrator "to
recalculate plaintiff's retirement benefit, ... and to
pay plaintiff a lump sum in the amount of the difference
between the amount of benefits that plaintiff has
received, and the amount of the recalculated benefit,
without any consideration of a ‘phantom account.'" I
added that "[ijt would not be unreasonable ... for the
administrator to subtract out the amount of the prior
distribution," in order to avoid giving the plaintiff a
windfall....

The same process should apply here. This process is
straightforward; it adequately prevents employees from
receiving a windfall, and I believe it most ciearly
reflects what a reasonable employee would have
anticipated based on the not-very-clear language in the
Plan and SPD. Again, if there is some doubt or ambiguity
as to this formula, it must be resolved in favor of the
employee. [Citations omitted. ]

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Case 6:00-cv-06311-DGL-JWF Document 177-2 Filed 04/01/09 Page 32 of 66

Bl. In Frommert 2007, Judge Larimer also held that the Xerox
general release form that some of the plaintiffs had signed in
connection with their receipt of severance pay was unenforceable,
contrary to the assertion of the Xerox plan administrators that
execution of the release form constitutes a waiver of claims for
enhanced retirement benefits under ERISA. Judge Larimer predicated
his decision in part on language contained in the release stating
that the consideration received by way of the severance pay or
salary continuance is “in addition to anything of value to which
[the employee] is entitled by law and/or Xerox policy." The
foregoing ruling made part of the Frommert 2007 decision and order
constitutes the law of this case.

82. The Frommert 2007 decision also referenced a motion by
the plaintiffs for leave to file a second amended complaint to add
the similarly situated plaintiffs identified asa members of “the
Carville group” and “the Falcon group” to the Frommert action. In
discussing that motion, Judge Larimer stated as follows:

The gist of the motion was that following the remand from

the Second Circuit [in Frommert 2006], additional Xerox

employees who had been separated from and then rehired by

Xerox prior to 1998 contacted plaintiffs' counsel,

seeking to join in or obtain the benefits of this

lawsuit. Plaintiffs' counsel wrote to the Plan
administrator, essentially asking him to waive these
individuals' exhaustion requirements under ERISA and
apply the rulings of this Court and the Court of Appeals

in this case and in Layaou to these additional Plan

participants. Thea administrator's response was,

essentialiy, that until a "final resolution" of this
action, the phantom account offset would continue to be

applied to all Plan participants, with "no exception or
deviation."

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Case 6:00-cv-06311-DGL-JWF Document 177-2 Filed 04/01/09 Page 33 of 66

To the extent that any of the proposed new plaintiffs
have not yet retired from Xerox, I see no basis for
adding them to this lawsuit. As stated earlier, the
Second Circuit's holding that "the phantom account may
not be applied to employees rehired prior to the issuance
of the 1998 SPD," would certainly seem to foreclose
defendants from utilizing the phantom account in
calculating "new" retirees' pension benefits. [Citations
omitted. ]

83. Having determined that the decision in Frommert 2007
would be applied to persons similarly situated to the named
plaintiffs, counsel for the plaintiffs in this action withdrew a
motion to file a second amended complaint which would have added as
interveners similarly situated plaintiffs described as the
“Carville Group” and the “Falcon Group.” The court thereafter
denied the motion as moot. A copy of the court’s order is attached
as Exhibit “LL” to this complaint.

84. ‘The March 6, 2007 order staying the effect of Frommert
2007 pending appeal, granted without any need for the Xerox
defendants tc post a bond, was specifically predicated on the
following ruling by Judge Larimer:

If a stay is not granted, defendants will be obligated to

pay out substantial sums to retired Xerox employees

pursuant to the formula directed by this Court in its

January 24 Decision [in Frommert 2007]. Sums would also

be due to employees who signed releases which this Court

determined would not preclude recovery by those

employees. If defendants are successful on appeal, it

will be difficult, if not impossible, to recover sums

paid out to plaintiffs and others similarly situated.
Notably, the March 6, 2007 order did not modify the order by the

Second Circuit in Frommert 2006 that the phantom account could not

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Case 6:00-cv-06311-DGL-JWF Document 177-2 Filed 04/01/09 Page 34 of 66

be applied to plan participants rehired prior to the publication of

the September 1998 SPD.

 

85. The Xerox defendants wrongfully failed to disclose in
SPDs distributed to the plaintiffs before the September 1998 SPD
that the defendants intended to apply the phantom account offset
and to utilize a comparative methodology resulting in Xerox rehires
receiving the lowest rather than the highest benefit among the
three alternative retirement benefit sources or components of the
Xerox RIGP Plan made effective January 1, 1990.

86. To repeat the finding of the Second Circuit in
Frommert 2006, the defendants violated ERISA Sections 204(g) and
204(h) by utilizing the phantom account offset to retroactively
reduce retirement benefits earned through length of service by the
plaintiffs and by failing to provide at least 15 days’ prior
written notice to each rehired plan participant describing any
proposed plan amendment which would result in a significant
reduction in the rate of future accruals.

87. ERISA Sections 204(g) and 204(h) also were violated with
regard to plan participants who were subject to a QDRO.

88. It is black-letter law that a plaintiff seeking an
injunction must demonstrate: (1) that he or she will suffer an
irreparable injury if injunctive relief is not granted, (2) that

remedies available at law, such as monetary damages, are inadequate

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Case 6:00-cv-06311-DGL-JWF Document 177-2 Filed 04/01/09 Page 35 of 66

to compensate for that injury, (3) that, considering the balance of
hardships between the plaintiff and defendant, a remedy in equity
is warranted, and (4) that the public interest would not be
disserved by granting an injunction.

89. The rehired plan participants have experienced or will
experience irreparable injury because they have been or will be
deprived of the secure retirement promised to them to fund their
“golden years.” Moreover, some of the rehired plan participants
will lack the financial resources to make mortgage payments,
thereby causing them to lose their homes.

90. In light of the current economic circumstances of which
the Court can take judicial notice, remedies available at law are
inadequate to compensate the rehired plan participants for the
financial distress that has reached the point that some of them may
lose their homes through foreclosure.

91. Balancing the hardships tilts decidedly in favor of the
rehired plan participants. A declaratory judgment requiring the
defendants to pay the lump sum value of the plaintiffs’ pension
entitlements calculated under the NHM as an interim measure pending
the defendants’ appeal of Judge Larimer’s determination to apply
the Layaou 2004 methodology does not constitute any hardship on the
defendants.

92. Finally, the public interest would be served by issuance
of an injunction prohibiting further implementation of the phantom

account offset to discourage other employers from engaging in

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Case 6:00-cv-06311-DGL-JWF Document 177-2 Filed 04/01/09 Page 36 of 66

similar egregious conduct. The grant of an injunction requiring
the defendants to pay on an interim basis the lump sum value of the
plaintiffs’ pension entitlements calculated under the NHM will go
far to assuage the public perception that the defendants have been
able to manipulate the judicial system to avoid for more than eight
years paying the retirement benefits promised by the employer to
the plaintiffs.

93. It is the law of this case that the principles underlying
the concept of fiduciary obligations owed by plan administrators of
a defined benefit plan to provide plan participants with
information material to investment decisions, such as planning for
a secure retirement, were violated when the Xerox defendants failed
to disclose in the December 1989 SPD that they intended to
implement the phantom account offset to eliminate or severely
diminish the pension benefits to which rehired plan participants
were entitled.

94. The December 1989 SPD, which is the pre-amendment SPD
referenced in Fromwmert 2006, is in conflict with non-duplication
provisions in the 1989 Restatement that, if they had been properly
disclosed in the pre-amendment SPD, may have been utilized by the
Xerox defendants as the basis for calculating the enhanced
retirement benefits to which rehired plan participants were
entitled.

95. The first such provision in the 1989 Restatement is

Section 1.44f, part of the definition of “Years of Participation”

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Case 6:00-cv-06311-DGL-JWF Document 177-2 Filed 04/01/09 Page 37 of 66

which states as follows: "No credit shall be given for any period
with respect to which a lump sum payment has been made under
Sections 8.5 and 8.8." As found in Frommert 2006, Section 9.5 of
the 1989 Restatement addresses lump sum distributions of benefits
of the type received by the plaintiffs, while Section 8.8 deals
with an issue unrelated to this case--the procedures to be followed
if a plan participant or her spouse are adjudged incompetent.

96. Although Section 1.44f therefore provides authority in
the Plan for the NEM which the Xerox defendants champion in their
appeal of Judge Larimer’s adoption of the Layaou 2004 methodology
in Frommert 2007, it is clear that Judge Larimer, in stating that
he gave consideration to the alternative methodologies presented in
hearings held prior to his decision, determined that the NHM was
not an equitable method of assuring non-duplication of benefits.

97. A third alternative method of calculating the retirement
guarantee in a manner so as to avoid duplicate payments is alleged
to be provided by Section 9.6, captioned “Nonduplication of
Benefits.”

98. When read in connection with Section 1.1 of the 1989
Restatement, captioned “Accrued Benefit,” this third alternative
method of calculating rehired plan participants’ retirement
benefits has been construed by the Xerox defendants to be the
equivalent of the phantom account offset through the introduction
of an interest factor on the amount received by the rehired plan

participant when previously separated from employment.

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Case 6:00-cv-06311-DGL-JWF Document 177-2 Filed 04/01/09 Page 38 of 66

99. It is clear that Judge Larimer, when stating that he gave
consideration to the alternative methodologies presented in
hearings held prior to his decision, determined that Section 9.6
did not provide an equitable method of assuring non-duplication of
benefits since such a method was not disclosed in the controlling
December 1989 SPD.

100. Accordingly, consistent with the findings of the Second
Circuit in Frommert 2006, Judge Larimer in Frommert 2007 was
constrained to find that, in the event of a conflict between the
pre-amendment Xerox SPD and provisions in the 1989 Restatement, the
pre-amendment SPD controls.

101. Because the December 1989 SPD doas not even mention these
alternative mathods of calculating the Retirement Income Guarantee,
Judge Larimer was entirely within the discretion given to him by
the Second Circuit to conclude that the proper relief for the ERISA
violations found by the Second Circuit to have been committed by
the Xerox defendants would be te caiculate the lump sum value of
rehired plan participants utilizing both periods of employment but
deducting therefrom only the actual amount received by the
plaintiffs in lieu of the phantom account offset.

102. In their brief in chief on appeal, excerpts of which are
attached as Exhibit “M’ to this complaint, the Xerox defendants ask
the Second Circuit to find that the NHM is appropriate to be
applied in the circumstances of this case.

By definition, [the term] “Years of Participant” [sic]
does not include credit for any period with respect to

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Case 6:00-cv-06311-DGL-JWF Document 177-2 Filed 04/01/09 Page 39 of 66

which a payment has previously been made. When read in
conjunction with the other relevant provisions of the
pre-1998 Plan, Section 1.44(f) would require that
appellees’ retirement benefits be calculated without
inclusion of their years of prior service. Their prior
service would, however, still be relevant, upon their
being rehired, for purposes of vasting.

The District Court should have relied on these terms of
the pre-1998 Plan and ordered that appellees’ benefits be

recalculated using these plan provisions. Such a “new
hire” method fully comports with this Court’s January 6,
2006 Order.

For this second period of employment, and based upon the
pre-1998 Plan terms, each appellee would be entitled to
a minimum benefit equal to the greatest of the annuity
benefits provided by:

(a) the employee’s [TRA], determined without adding
back or subtracting out the employea’ s prior
distribution;

(b) the employee’s [CBRA], also determined without
adding back or subtracting out the employee’s prior
Gistribution; and

(c) the employee’s annuity benefit under the Plan’s

. formula based upon 1.4% percentage [sic] of the
employee’s highest average compensation multiplied by the
employee’s “Years of Participation” in the Plan, as
defined in Section 1.44(£) of the pre-1998 Restated Plan.
Years of participation would therefore not include those
years for which appellees had been paid prior
distributions.

Xerox defendants’ appellate brief at 32-34.

103. In their reply brief dated June 18, 2007, portions of
which are attached as Exhibit “N” to this complaint, the Xerox
defendants further contend that the NHM should have been the method
adopted by Judge Larimer:

As testified to by Lawrence Sher, the actuarial expert

offered by appellants, the new hire approach would

benefit the appellees and result in treating them
similarly to other plan participants. Appellees had been
paid out whatever they were entitled to during their

first stint of employment, and they would be entitled to
the same retirement benefits as a new employee for their

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Case 6:00-cv-06311-DGL-JWF Document 177-2 Filed 04/01/09 Page 40 of 66

subsequent stint(s). Thus, contrary to what appellees

would have the Court believe, their pension payment would

reflect all years of service.
Xerox defendants’ reply brief at 18.

104. Based on the foregoing contentions of the Xerox
defendants in their submissions to the Second Circuit, appropriate
equitable relief would be to enjoin further implementation of the
phantom account offset to rehired plan participants and to require
that the Xerox defendants calculate the enhanced retirement
benefits due to all rehired plan participants under the Layaou 2004
mathodology pending the outcome of the appeal of Frommert 2007.

105. Granting this relief would enable the numerous plan
participants such as the plaintiffs here and the named plaintiffs
in the Frommert action who have been victimized by the conduct of
the Xerox defendants to borrow against the amount calculated under
the Layaou 2004 methodology as the reasonable expectation of their
award from this lawsuit.

106. We vespectfully submit that appropriate equitable relief

requires that, the Xerex defendants

 

calculate the enhanced retirement benefits due to ali rehired plan
participants under the NHM pending the outcome of the appeal of
Erommert 2007.

107. Appropriate equitable relief, consistent with the recent
decision of the U.S. Supreme Court in Sereboff, contemplates that
an equitable lien be imposed on the assets of the RIGP Plan. The

lien should be imposed in the amount owed to the rehired pian

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Case 6:00-cv-06311-DGL-JWF Document 177-2 Filed 04/01/09 Page 41 of 66

participants who had their retirement benefits retroactively
reduced in violation of ERISA Section 204(g) in accordance with the
Layaou 2004 methodology decreed by Judge Larimer, as well as the
projected amount of enhanced retirement benefits to be received by
the rehired plan participants who are not yet eligible to take down
their pension entitlement or are still actively employed by Xerox.

108. Equitable relief in tha form of a lien is consistent with
Section 9.10 of the 1989 Restatement, which is included in Exhibit
“Oo” to this complaint and provides as follows:

If at any time any doubt exists as to the right of any
person to any payment hereunder or as to the amount of
time of such payment [sic] ... the Administrator shall be

entitled, in his discretion, to direct the Trustee (or
any insurance company) to hold such sum as a segregated
amount (on an interest bearing basis) in trust until such
right or amount or time is determined or until order of

a court of competent Jars sei cta on: or to pay such sum
such case oe provided, or to make payment fenly upon

receipt of a bond or similar indemnification.

 

[Emphasis added.] Although Section 9.10 refers to the discretion of
the plan administrator, no such discretion should be afforded in
this case because the defendant plan administrators have
demonstrated that they have a conflict of interest in that they
repeatediy act in the best interests of the employer rather than
the employees to whom they owe a fiduciary obligation.

109. It logically follows from Sereboff and Section 9.6 of the
1989 Restatement that the concept of equitable relief made part of
ERISA Section 502(a) (3) mandates that the Xerox defendants give

notice to all plan participants rehired prior to the publication

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Case 6:00-cv-06311-DGL-JWF Document 177-2 Filed 04/01/09 Page 42 of 66

date of the September 1998 SPD and all plan participants whose
retirement benefits have been adversely affected by a QDRO that
they may apply on an interim basis for enhanced retirement benefits
based on the NEM.
(Claims Predicated Upon
the Xerox Defendants’
Continued Tllegal Use oe)

110. The plaintiffs repeat and reallege each and every
allegation set forth in paragraphs one through 109 of this
complaint as if they had been more fully set forth herein at
length.

111. In light of the foregoing, ail plan participants rehired
prior to the publication of the September 1998 SPD and all other
pian participants subject to a QDRO are entitled under ERISA
Section 502(a)(1)(B) and/or ERISA Section 502(a} (3) to injunctive
relief (a) to enjoin the defendants from applying the phantom
account offset to retroactively reduce retirement benefits earned
by rehired plan participants who received distributions from the
Profit Sharing Plan when previously separated from employment and
te continuously employed plan participants whose benefits were
reduced by a  QDRO; {b) to compel the Xerox defendants to
recalculate retirement benefits due to the rehired plan
participants and continuously employed plan participants subject to

a QDRO based on the Layaou 2004 methodology so as to establish the

amount of the equitable lien to be imposed on funds controlled by

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Case 6:00-cv-06311-DGL-JWF Document 177-2 Filed 04/01/09 Page 43 of 66

the Xerox defendants; (c) to compel the Xerox defendants to
identify the rehired plan participants who are entitled to the
benefit of the Anglim settlement and/or the PSB, to calculate the
amount of these additional benefits to which they may be entitled,
and to provide the balances of their CBRA accounts and their TRA
accounts, if any; (d) to compel the Xerox defendants to inform all
persons similarly situated to the named plaintiffs in the Frommert
action of this litigation and to invite them to apply to have their
pension entitlements calculated based on the jfayaou 2004
methodology and the NHM pending the outcome of the defendants’
appeal of Frommert 2007; and (e) to require the Xerox defendants to
provide the relief requested in paragraphs (a) through (d) to plan
participants regardless of whether they signed the Xerox general

release forn.

SECOND COUNT
(Claims Predicated Upon
Breach by the Xerox Defendants

of Fiduciary Obligations Owed)

112. The plaintiffs repeat and reallege each and every
allegation set forth in paragraphs one through 111 of this
complaint as if they had been more fully set forth herein at
length .

113. Based on the decisions of the Seventh Circuit in Berger

 

an, 338 F.3d 755 (2003), the

Second Circuit in Frommert 2006, and the Ninth Circuit in Miller v.

 

464 F.3d 871 (2006), the

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Case 6:00-cv-06311-DGL-JWF Document 177-2 Filed 04/01/09 Page 44 of 66

Xerox defendants must be deemed to be serial violators of ERISA
statutes designed to protect the interest of pensioners.

114. As provided in ERISA Section 413, 29 U.S.C. §1113:

No action may be commenced under this subchapter with

respect to a fiduciary's breach of any responsibility,

duty, or cbligation under this part, or with respect to

a violation of this part, after the earlier of - (1) six

years after (A) the date of the last action which

constituted a part of the breach or violation, or (B) in

the case of an omission the latest date on which the

fiduciary could have cured the breach or violation, or

(2) three years after the earliest date on which the

plaintiff had actual knowledge of the breach or

violation; except that in the case of fraud or
concealment, such action may be commenced not later than

six years after the date of discovery of such breach or

violation.

115. Pursuant to the statute quoted above, the ciaima of
rehired plan participants set forth in this complaint are timely
because the defendants’ wrongful conduct described in this
complaint constitutes an ongoing breach of fiduciary obligations
owed to rehired plan participants.

116. The statutory violations by the Xerox defendants also
violate the terms of the 1989 Restatement. As set forth in Section
10.5 of the 1989 Restatement, which is included in Exhibit “O” to
this complaint, the Administrator shall act “In accordance with the
documents and instruments governing the Plan insofar as such
documents and instruments are consistent with the provisions of
Title I of ERISA.”

117. Under case law interpreting ERISA, the conduct of a plan

administrator towards participants in a pension plan governed by

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Case 6:00-cv-06311-DGL-JWF Document 177-2 Filed 04/01/09 Page 45 of 66

ERISA provisions such as the Xerox RIGP Plan is also governed by
common law principles of trust and fiduciary obligations.

118. The defendants have a fiduciary obligation to
particularly disclose to Xerox rehires such as the plaintiffs ail
material information relating to the calculation of their pension
benefits.

119. The wrongful conduct of the Xerox defendants in
continuing to apply the phantom account offset as of the date of
this complaint to significantly reduce retirement benefits under
the three alternative sources or components when the redesigned
Xerox RIGP Plan made effective on January 1, 1990 constitutes a
continuing violation of fiduciary obligations owed to the
plaintiffs.

120. As further equitable relief which will benefit all pian
participants in the RIGP Plan in accordance with ERISA Section
502 (a) (2), the court should enter an injunction removing defendant
Becker as plan administrator, permanently disqualifying any Xerox
employee from serving in that capacity, and appointing a third
party unaffiliated with Xerox as a fiscal agent to perform the
duties of plan administrator.

(Claine Poediceted Upon
the Xerox Defendants’ Me of
121. The plaintiffs repeat and reallege each and every

allegation set forth in paragraphs one through 120 of this

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Case 6:00-cv-06311-DGL-JWF Document 177-2 Filed 04/01/09 Page 46 of 66

complaint as if they had been more fully set forth herein at
length.

122. Pursuant to ERISA Section 404(a), the Xerox defendants
are fiduciaries with an obligation to discharge their duties with
respect to a plan “solely in the interest of the participants and
beneficiaries and - (A) for the exclusive purpose of: (i) providing
benefits to participants and their beneficiaries.”

123. The Xerox defendants knowingly violated statutory
provisions designed to protect the rights of pensioners through
misrepresentations and intimidation, resulting in the conversion of
retirement funds promised to the plaintiffs into Xerox assets and
the reduction of the pension liability of defendant Zerox
Corporation.

124. By engaging in this conduct and continuing to engage in
this conduct, the Xerox defendants administered the Xerox RIGP Plan
for the benefit of the employer rather than for the benefit of plan
participants, contrary to the mandate ef ERISA Section 404 (a).

125. As further equitable relief which will benefit all plan
participants in the RIGP Plan in accordance with ERISA Saction
502 (a) (2), the court should enter an injunction removing defendant
Becker as pian administrator, permanently disqualifying any Xerox
employee from serving in that capacity, and appointing @ third
party unaffiliated with Xerox as a fiscal agent to perform the

duties of plan administrator.

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Case 6:00-cv-06311-DGL-JWF Document 177-2 Filed 04/01/09 Page 47 of 66

WHEREFORE, the plaintiffs hereby demand judgment against the
Xerox defendants, jointly and severally, on Counts One, Two, and
Three of this complaint as follows:

(a) For an order enjoining the defendants from applying the
phantom account offset to retroactively reduce retirement benefits
earned by rehired plan participants who received distributions from
the Profit Sharing Plan when previously separated from employment
and to continuously employed plan participants whose benefits were
reduced by a QDRO;

(b) For an order compelling the Xerox defendants to
recalculate retirement benefits due to the rehired plan
participants and continuously employed plan participants subject to
a QDRO based on the Layaou 2004 methodology so as to establish the
amount of the equitable lien to be imposed on funds controlled by
the Xerox defendants;

(c) For an order compelling the Xerox defendants to identify
the rehired plan participants who are entitled to the benefit of
the Anglim settlement and/or the PSB, to calculate the amount of
these additional benefits to which they may be entitled, and to
provide them with the balances of their CBRA account and their TRA
account, if any;

(d) For an order compelling the Xerox defendants to inform all
persons similarly situated to the named plaintiffs in the Frommert
action of this litigation and to invite them to apply to have their

pension entitlements calculated based on the Layaou 2004

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Case 6:00-cv-06311-DGL-JWF Document 177-2 Filed 04/01/09 Page 48 of 66

methodology and the NHM pending the outcome of the defendants’
appeal of Frommert 2007;

(e) For an order compelling the Xerox defendants to provide
the relief requested in paragraphs (a) through (ad) to pian
participants regardless of whether they signed the Xerox general
release form;

(f) For an order removing defendant Becker as plan
administrator, permanentiy disqualifying any Xerox employee from
serving in that capacity, and appointing a third party unaffiliated
with Xerox as & fiscal agent to perform the duties of plan
administrator;

(g) For an order awarding reimbursement of all litigation
expenses incurred, including, but not iimited to,. reasonable
attorney's fees and other costs of suit; and

(h) For an order awarding such other and further relief as
this court may deem appropriate and equitable in the premises.

FOURTH COUNT

(Claims Predicated Upon The Conspiracy
To Defraud Rehired Plan Participants and

    

       

126. The claims asserted in this count are state law claims
pendent to the ERISA claims alleged in the Counts One, Two, and
Three.

127. The defendant RIGP Plan is not a party to the conspiracy

alleged in this count.

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Case 6:00-cv-06311-DGL-JWF Document 177-2 Filed 04/01/09 Page 49 of 66

128. The claims asserted in this count comport with principles
of preamption under ERISA as stated in the four-justice dissent in
Mertens vy. Hewitt Associates, 508 U.S. 248 (1993).

129. Beginning on or about January 1, 1990, the defendant
conspirators, acting through the defendant plan administrators,
made one or more false representations of fact regarding the
conditions of employment to thea named plaintiffs and omitted
material information regarding the conditions of employment in
communications with the named plaintiffs.

130. Those misrepresentations and omissions include, but are
not limited to:

(a) failing to disclose in SPDs and personal benefit
statements issued prior to September 1, 1998 the intent of the
defendant conspirators to implement a phantom account offset for
which there was no authority to do so in the December 1989 SPD or
the 1989 Restatement;

(b) failing to disclose in SPDs and personal benefit
statements the intent of the defendant conspirators to implement
the phantom account offset on plan participants subject to a QDRO;

(c) retroactively reducing the accrued benefits earned by
rehired plan participants since their rehire and pian participants
subject to a QDRO in violation of ERISA Section 204 (g);

(c) failing to give the notice required by ERISA Section
204(h) of amendments to the RIGP Plan that would substantially

reduce the rate of future benefit accruals;

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Case 6:00-cv-06311-DGL-JWF Document 177-2 Filed 04/01/09 Page 50 of 66

(d) representing the Xerox general release form as a waiver of
rights to retirement benefits under the Xerox RIGP Plan; and

(e) making false and misleading statements jin response to
administrative claims filed by aggrieved plan participants that the
phantom account offset was part of the RIGP Plan document.

131. At the time that the above representations and/or
omissions were made, the defendant conspirators knew or believed
them to be false.

132. At the time that the above representations and/or
omissions were made, the defendant conspirators intended to deceive
the named plaintiffs.

133. At all times relevant, the named plaintiffs believed and
justifiably relied on the statements prepared by and distributed by
defendant Xerox Corporation through the defendant plan
administrators in the pre-amendment SPD that were intended to
advise the plaintiffs how to plan for a secure retirement, and the
named plaintiffs were induced to take certain actions or made
certain decisions concerning his or her retirement plans.

134. At all times relevant, the named plaintiffs believed and
justifiably relied on communications by defendant Hewitt Associates
and/or defendant Hewitt Management Company LLC that contained
misteading information about the amount of their pension benefits.

135. As a direct and proximate result of the fraudulent

conduct by the defendant conspirators, the plaintiffs and perscns

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Case 6:00-cv-06311-DGL-JWF Document 177-2 Filed 04/01/09 Page 51 of 66

similarly situated to them have suffered and continue to suffer
damages.

136. On or about January 1, 1990, defendant Xerox Corporation,
defendant Nazemetz, defendant Hewitt Associates, and defendant
Hewitt Management Company LLC entered into a conspiracy to defraud
Xerox rehixes through a scheme whereby they would knowingly viciate
statutory provisions designed to protect the rights of pensioners
through misrepresentations and intimidation, resulting in the
conversion of retirement funds promised to this group of Xerox
employees into Xerox assets and the reduction of the pension
liability of defendant Xerox Corporation.

137. Through this fraudulent conversion scheme of the
defendant conspirators, defendant Xerox Corporation sought to avoid
its obligation under Section 3.1 of the 1989 Restatement. Section
3.1 is included in Exhibit “O” of this complaint and provides in
part that “It is intended that the Employer will make such
contributions as are necessary to fund the Plan in accordance with
the [Internal Revenue] Code and ERISA."

138. On or about March 1, 1999, defendant Conkright joined the
conspiracy by accepting the position of Plan Administrator and
continuing the wrongful acts described in Count Four.

139. On or about February 1, 2000, defendant Becker joined the
conspiracy by accepting the position of Plan Administrator and

continuing the wrongful acts described in Count Four.

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Case 6:00-cv-06311-DGL-JWF Document 177-2 Filed 04/01/09 Page 52 of 66

140. The defendant conspirators have continued to the date of
this complaint to defraud rehired plan participants by implementing
the phantom account offset, notwithstanding the decision in Layaou
2001 that the SPD in effect at the time of plaintiff Layaou's
retirement was false and misleading because it failed to disclose
the intent of the defendant Plan administrators to implement the
phantom account offset when the individual rehired plan
participants sought to take down their pensions. It is anticipated
that the court will reach the same result with respect to the
implementation of the phantom account offset on plan participants
subject to a QDRO.

141. As described herein, the conduct of the defendant
conspirators is so egregious that it demands an award of punitive
damages to deter similar intentional wrongful conduct in the
future. The amount of such damages should be three times the
amount determined by the court to constitute compensatory damages.

WHEREFORE, the plaintiffs hereby demand judgment against the
defendant conspirators, jointly and severally, on Count Four of
this complaint as follows:

(a) For an award of compensatory damages equal to the amount
converted by the defendants;

(b) For an award of special, exemplary, and punitive damages;

(c) For an order awarding reimbursement of all litigation
expenses incurred, including, but not limited to, reasonable

attorney's fees and other costs of suit; and

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Case 6:00-cv-06311-DGL-JWF Document 177-2 Filed 04/01/09 Page 53 of 66

(c) For an order awarding reimbursement of all litigation
expenses incurred, including, but not limited to, reasonable
attorney's fees and other coats of suit; and

(d} For an order awarding such other and further relief as
this court may deem appropriate and equitable in the premises.

DEMAND FOR A JURY TRIAL
The plaintiffs hereby demand a trial by jury on the pendent

state law claims identified in Count Four of the complaint.

Dated: April 30, 2008

ROBERT H. JAFFE & ASSOCIATES, P.A.
Attorneys for the Plaintiffs

fal

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Case 6:00-cv-06311-DGL-JWF Document 177-2 Filed 04/01/09 Page 54 of 66

Exhibit B
Case 6:00-cv-06311-DGL-JWF Document 177-2 Filed 04/01/09 Page 55 of 66

Ca ¢6:08-cv-06080-DGL Document16 Filed 02/03/2009 Page 1 of 12

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

 

BRUCE D. KUNSMAN. et al.
Plaintiffs.
ve C. A. No. 6:08-C V¥-06080-DGL

SALLY L. CONKRIGHT, ct aL.
Defendants,

 

 

PLAINTIFF JOSEPH MCNEIL'S MOTION TO STAY THIS ACTION
PENDING RESOLUTION OF HIS TO BE FILED MOTION TO INTERVENE
IN THE FROMMERT ACTION, OR ALTERNATIVELY, FOR POSTPONEMENT
OF THE FEBRUARY 4, 2009 HEARING GN DEFENBANTS’ MOTION TO
DISMISS AND FOR ADDETIONAL TIME TO SEEK LEAVE OF COURT

T EAN NDEB CON
Plaintiff Joseph MeNeil (“McNeil”) hereby respectfully moves this Court for an

Order staying this Action pening resolution of his to be filed motion 40 intervene in
Frommert et abv. Conkright et al... CA. No, 00-cv-O6311-DGL CFrommett’?. As set
forth in McNeil’s memorandum in suppori of this motion, which is submitted herewith,

AcNeil will be filing a motion te intervene in Fronunert within two weeks that seeks to
obtain rehef for himself and all similarly situated participants in the defendant Xerox
Corporation Retirement Income Guarantee Plan, which if allowed would effectively moot
this Action. Thus. for the reasans detailed in the accompanying memorandum, McNeil
requests that the Court enter a stay in this Action pending the resolution of is to be filed
MOON tO interveng in Frowznert.

Altemauvely, if the Court does not gram the requested stay, McNeil asks that the

Count postpane the hearing on Defendants’ motion to dismiss, which is set for February
Case 6:00-cv-06311-DGL-JWF Document 177-2 Filed 04/01/09 Page 56 of 66

Ca e6:08-cv-O6080-DGL Document16 Filed 02/03/2009 Page 2 of 12

4. and grant McNeil an extension of 30 days from the Count’s order on this motian ta

seek leave to file an amended complaint for himself in this Action.

Dated: February 3. 2009 Respectfully submitted,

Matthew J. Fusoo

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Of Counsel

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Case 6:00-cv-06311-DGL-JWF Document 177-2 Filed 04/01/09 Page 57 of 66

Ca e6:08-cv-06080-DGL Document16 Filed 02/03/2009 Page 3 of 12

UNITED STATES INSTRICT COURT
WESTERN DISTRICT OF NEW YORK

 

BRUCE D. KUNSMAN, et aL.
Plaintilis,
v. C. A. No. 6:08-4CV-06080-DGL

SALLY L. CONKRIGHT, et al.
Defendants.

 

 

MEMORANDUM OF LAW EN SUPPORT OF PLAINTIFF JOSEPH MCNEIL’S
MOTION TO STAY THIS ACTION PENDING RESOLUTION OF HIS
TO BE FILED MOTION TO INTERVENE EN THE FROMMERT ACTION, OR
ALTERNATIVELY, FOR POSTPONEMENT OF THE FEBRUARY 4, 2009
HEARING ON DEFENDANTS’ MOTION TO DISMISS AND FOR
ADDITIONAL TIME TO SEEK LEAVE OF COURT

TO FILE AN AMENDED COMPLAINT

BACKGROUND

‘This action was filed on February 22, 2008 on behalf of approximately 83 named
plainuffs, including Joseph MeNeil, by Atiomey Robert H. Jaffe Caffe"). These 83
plamliffs are or were participants in the defendant Xerox Corporation Retirement Income
Guarantee Plan (the “Plon”) and the action seeks to recover benefits improperly withheld
by Defendants as a result of its use of a “phantom account” in calculating pension
benefits owed. The defendarits’ use of the phantom account has beer the subject of
litigation for years in this Court in the case of Frenunest et al. v. Conkright et al, CA.
No. 00-cv-D6311-DGL (“Frommers”), The Second Circuit in Fronunert ruled that the
defendants’ use of a phartom account in calculating benefits for the Fromment plaintiffs
who had worked for Xerox fer a period of time: tock a lamp sum distribution of their
accrued benefit when they first left Xerox; and were rehired by Xerox prior to September

1, 1998, violdied ERISA. Frownert vo Cankright, 433 Fad 254 (2d Cir. 2606). This
Case 6:00-cv-06311-DGL-JWF Document 177-2 Filed 04/01/09 Page 58 of 66

Ca e 6:08-cv-06080-DGL Document16 Filed 02/03/2009 Page 4 of 12

Court has now established the formula pursuant wo which the acerued benefits of the
qualifying Plaintiffs in Fremer! skal] be calculated, (he “2007 Becision Formula”)
which decision has been affirmed by the Second Circuit. Fromnert +. Conkrigit, 472 F.
Supp. 2d 452 CON DIN SY. 2007), afd. $95 F.3d 11i (2d Cir, 2008) (Plaintiff MeNeil
endersiands that a Petition for Writ of Certiorari regarding that decision has been filed
with the U.S. buprome Court).

Plaintiff McNeil bas retained new counsel te represent him in this Action —
Matthew J, Fuses of the Rochester law firm Chamberlain D’Amanda Oppenheimer
Greenfield LIP and Edward F. Haber of the Boston law firm Shapiro Haber & Urmy
LLP. This motion is being filed to obtata adequate time far McNeif's new attorneys 6
prepare anc file additional pleadings and motions on MeNeil's behalf, in this Action and
in the Frommert Action, as described below.

Plainutf McNeil, through His new counse]. plang to file a motion 10 intervene m
the Frommert Action within the next two weeks, The intervention sought would be for
the limited purpose of advocating for and obtaining an order from the Court that
Defendants must apply the 2007 Decision Formula to him and all other sanity situated
Plan participants who ere not named plaintiffs in Frommers.

McNeil undenitands that this Court has, on at least three occasions, stated its
behef and expectation that the Defendants will apply the rulings in this Action to all of
the similarly situated plan participants, not just to dhe named plaintiffs in this Action, In
its January 74, 2007 Decision, this Court established the 2007 Decision Fermula, which
¢liminated the phantom account mechanism. And, wit: respect to the phantom account

mechanism, this Court said: ‘Xerox may not lawfully use the phantom account

be
Case 6:00-cv-06311-DGL-JWF Document 177-2 Filed 04/01/09 Page 59 of 66

Ca © 6:08-cv-06080-DGL Document16  Fited 02/03/2009 Page 5 of 12

mechanism, as to either the named plaintiffs in this iawsuit, or anyone clse whe was
rehired by Nerox prior to 1998. after haying prewiously received a disttbution of
pension benefits.” 472 F. Supp. 2d 452 (W.OLN.Y. 2007} temphasis added).
Furthermore, in (iat decision, to addressing a motion to amend to add additional named
plaintiffs, thes Court said:
To the extent that any of the proposed new plaintiffs have not yet retired from
Nerox, L see no basis for adding tiem to this lawsuit. As stated earlier, the
Second Circait‘s holding that “the phantom account may not be applied to
employees rehired prior to the issuance of the 1998 SPD.” 433 F. 34 at 263,
would certainly stem to foreclose defendants from atilizing the phantom
account in calculating “new” retirees pensian benefits,
Frommert v. Conkvight, 472 F. Supp. 3d 452, 467 (WD. BY. 2007) temphasis added}.
Similarly. in its March 6, 2007 Order Granting Stay Perting Appeal of its
January 24, 2007 Order. this Ceurt explained: “If a stay is not granted, defendants will
te obligated to pay out substantial sums to retired Xerox employees pursuant to the
formula directed by the Court in its January 24, Decision. ...1f defendants are successful
on appeal. tt will be ditficult, if not impossible, to recover sums paid ont to plaintiffs and
others similarly situated.” Frommert v. Conkrighr, 472 F. Supp. Id 452, 468 CW_D.
NAY. 2007) (emphasis added}.
ft is apparent from those statements in its decisions that the Court believes that
Mcheil and al! other similarly situated plan beneficiaries, who are nol named plaintiffs in
this Action. are enutled to receive atcrued benefits calculated pursuant to the 2007
Decision Formuia, Of course, that is correct. However, to the best of O" Neil's counsel's
knowledge, the Defendants have never agreed or stipulated thar they weuld apply the

2007 Decision Formnla to anyone other than the named plainutfs in Fronazert.
Case 6:00-cv-06311-DGL-JWF Document 177-2 Filed 04/01/09 Page 60 of 66

Ca @6:08-cv-06080-DGL Document16 Filed 02/03/2009 Page 6 of 12

Fruthermore. the Defendants” liugation actions and positions im this Action create
significant doubt as to whether the Defendants will do se, unless compelled by the Coxnt,

If the Defendants apply the 20097 Decision Formula to all similarly simated pias
participants, iacluding McNeil and the other named plaintiffs im this Action, then this
Action would be effectively moot. Nevertheless, despite the fact that the Second Circuit
affirmed the 2007 Decision Formula on Joly 24, 2008. the Defendams moved to dismiss
the Amended Complaint im this Action. iver ali, on statute of limitations grads, right
days later. on August 1, 2008. Query: Why would the Defendants spend the time,
MOY ANG resources to move to dismiss tus Action if they istead to apply this Court’s
2007 Decision Forniula to the plamuffs in thas Action? Common sense tells us that if that
wete the Defendants” intention. they would have appropriately moved tu stay this Action
unti] all relief issues for the piaintiffs and al] other sunilarly situated Plan participants,
tmelacing the plaintiffs here. was sorted out im Frommert.

Under these circumstances. to fally protect the ERISA rights of McNeil and ail
others similarly situated to the Frommerr plainiifs, McNeil will move to intervene in
Frommert to advocate and file the necessary pleadings to obtain an order from the Court
that directs Defendants to apply the 2007 Decision Formuia to all other similarly situated
‘Pian participants.

Given MeNeil’s soon to be filed motion to intervene in Frommert, and the
potentiai aifect that the ultimate objective of that motion may have on this action. McNeil
requests that the Court stay this case pending resolution of that motion to intervene
because if he is successful in obtaining relief for himself and all other similarly simaiad

Plan participants, the claims in this case will become maa,
Case 6:00-cv-06311-DGL-JWF Document 177-2 Filed 04/01/09 Page 61 of 66

Ca e 6:08-cv-06080-DGL Document16 Filed 02/03/2009 Page 7 of 12

Alternatively, if the Coun does nat grant a stay pending the motion Wi mtervene it
Frommert, McNeil requests that the Court postpone the hearing scheduled for February 4
on Defendants’ Mation ta Dismiss in this Action, and grant hat 30 days from the Court's
arder on this motion in which tc move for leave to file an amended complain in this
Action. Ja an amended complaint, McNeii would add new claims conceming
Defendants” failure to apply the 2)? Decision Formula to his benefits, including ERISA
and breach of fiduciary duty claims. McNeil would also alleged facts unique to his
situation, which would be relevant to the imeliness of some of his claims.

ARGUMENT
1. Granting « Stay is Appropriate Under the Circumstances

In deciding whether to rant a stay, the courts look to the following factors:

{13 the private interests of the plaintiffs in the proceeding expediamisly

with the civil litigation ag balanced against the prejudice to the piaintifis if

delayed; (2) the private interests of the defendants: (34 the interests of the

courts; (4) the foteresty of persons oot parties t¢ the civil ligation; and (3)

the public interest.

Russian Srandard Vodka {USA}, inc. v, Allied Domecg Spirits & Wine USA, ine, 523 F.
Supp, 2d 376, 384 (8. DN Y. 2007) (quoting Ladale v. Needham & Co., 399 F. Supp. 2d
421, 427 (3.D NY. MEK): Kappel v. Comper, $14 F. Supp. 1056. 1058 (SB NLY. 1966).
Whether te allow a stay is “fetnly within a district court's discretion.” LaSata, 399 F.
Supp. 2d at 427 (quoting American Shipping Line, inc. vy. Masses Shippivig Indus, SB5 F,
Supp. 499, 302 (S.DIN-Y. 1965), Applytng these factors to the cyrcumstances presentad
in this case favors granting a stay. McNeil addresses those factors in tum,

{1} There is 10 prejudice to the plaintiffs in briefly staying this action until the

Court in Froaunert resolves MeNeil’s motion to intervene. If the Court allows the

oft
Case 6:00-cv-06311-DGL-JWF Document 177-2 Filed 04/01/09 Page 62 of 66

Ca 6 6:08-cv-06080-DGL Document 16 Filed 02/03/2009 Page 8 of 12

notions to intervene and orders Defendants to apply the 2007 Decision Formula to all
Plan participarts similarly situated, which would inckided the plaintiffs here, the
plaintiffs will have eeceived the very retief they are seeking and this action will be mont.
Cf. LaSala. 399 F. Supp. dd at 428 (where plaintiff seeks a stay, the court & not
concemed with “plaintiff's seed 10 vindicate its rights}, Ga the other hand, if the Court
denies the motion to intervene. the hearing on Defendants’ motion tc dismiss wil have
been diayed only a short period of time. and the plaintiffs will be free to liuigate thea
claims here going forward. Moreover, if Defendants’ motion to dismiss were allowed,
the nlaintits* claims will he dismissed, putting them in a wore posites: than if a stay is
granted.

(2) Defendants cannot cluim any prejudice from a brief stay of this action, As
mentioned above, if the medion to intervene is granted and McNeil is allowed to cbtam
relicf for all similarly situated Plan participants, this action would be mooted. Such a
result would minimize the time, money and resources Detendants would aved ta dedicate
19 this action while the motion to intervene is resolved itt Frommert. See LaSala, 399 F.
Supp. 2d at 430 (no prejudice to defendants where case was in carly stages and
defendants had nat incurred cests or eapended substantial effor}. Defendants also are the
defendants in the Frenmert action sa their tights will remain protected, partioularly
because they wall have the opportunity to address McNeil’s motion to intervene in
Frommert. Also. any prejudice to Defendanis would be minimal as McNeil seeks a stay
for the specific purpose of awaiting the Court’s resolution of his motion to intervene.

(3) The third prong strongly favors granting dus motion because allowing a bnef

stay would promote cudicial efficienoey. Ausstan Stumdard Vodka (USA dnc, 323 F.
Case 6:00-cv-06311-DGL-JWF Document 177-2 Filed 04/01/09 Page 63 of 66

Ca e 6:08-cv-06080-DGL Document16 Filed 02/03/2009 Page 9 of 12

Supp. 2d at 384 fgranting stay pending adminisvative investigation because it would
promote judicial economy). This w particularly so given thac a decision in McNeil’s
favor in Frammert would resolve the claims pending in dus action, alleviating the need
for the Court to expend further ume and resources in this action. la LeSala, the district
Saurt cited several reasony why 4 court would allow a stay and specifically noted the
situation, like here, when the outcome of a related proceeding would bear upon the case
being stayed. LaSala. 300 F. Supp. 3d at 427 & 0.39 (further noting Gaat a stay fas been
appropriate in one action where another concurrent pending action “arises form ike same
nucteus of facts ar because the pending action would resolve a-controlling poi of law").
id. at 427. Given that a successful niling on the issue raised by McWer?’s motion to
intervene — whether Defendants should apply the 2007 Decision Formula to the other
similarly sttusted Plan participants who are aot a named plaintiff in fromumnert - would
resolve the very claims in Laas case, 2 stay is appropriate.

{4} The wuerests af non-parties alsc counsel toward allowitte a stay. The only
non-parlies who would be affected by this issue are the similarly situated Plan
participants who are neither plaintiffs ia Fronenert nor tis case. With regard to these
individuals, which McNeil understands numbers in the hundreds. McNeil seeks to protect
then imerests by vay of his motion ta imtervene in the Fromunert action, asking to have
tae: 2007 Decision Formula applied to their benefits as well as his own! Thus, the

prateonen of their interests favors granting a siay of this Action.

 

* MeNeil does not believe shat the Fifth acu (ihe pyblic imenest) ic implicated by this motion. However,
to the extent the Court diets this marion dees affect dhe public iferest b uaiuld fiver allowing the xlay
heratse. among other things, it would comerve padicial racurces.
Case 6:00-cv-06311-DGL-JWF Document 177-2 Filed 04/01/09 Page 64 of 66

Ca 6 6:08-cv-06080-DGL Document16 Filed 02/03/2009 Page 10 of 12

Given that aif the factars favor prantuig a stay, McNeil requests that the Coun
allow his motion and stay this action pending resolution of his to be filed mation to
intervene in frowunert.

I. Abseut a Stay. the Court Should Grant McNeil Additional Time in Which to
Reguest Leave to File an Amended Complamt

Alternatively, if the Court does not deem a stay appropriate, McNeil would
request the Court postpone the hearing on Defendants’ motion to dismiss, which is
scheduled for February 4, and grant him 30 days to mauve to file an armended cormplaim.
As noted above, grmling an extension of 30 days would allow McNeil’s recently retained
new counsel time to prepare an amended complaint. (Plaintiff McNeil and bis new
counsel regret, and apologize io the Court, that die instant motion is being filed on the
eve of the February 4 hearingi.

Therefore, in the event the Court does not gram ihe requested stay in this schon,
McNeil would ask for 30 days (fram the date of the Court's ruling} 16 scck leave to file
an amended complaint.

CONCLUSION

For the foregoing reasons, Plainiiff Jeseph McNeil submits that the Court should
grant a stay of thiy action pending the resofution of his monon io mtervene m the
Frowmert action. ot aftematively, the Court should pastpone the hearing on Defendants’
motion to clamiss scheduled for February 4 and grant McNeil 30 dayy from the Court's

order to seek leave to Tile an amended complaint in this Action.
Case 6:00-cv-06311-DGL-JWF Document 177-2 Filed 04/01/09 Page 65 of 66

Ca ¢@ 6:08-cv-06080-DGL Document 16

Date: February 3, 2006

Filed 02/03/2009 Page 11 of 12

Respectfully sabmitted,

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Case 6:00-cv-06311-DGL-JWF Document 177-2 Filed 04/01/09 Page 66 of 66

Ca e 6:08-cv-06080-DGL Documenti6 Filed 02/03/2009 Page 12 of 12

United States District Court
Western District of New York

 

 

BRUCE 0. KUNSMAN, et al,
Plaintiffs,
¥. C. A. No. 6:08-C¥-06080-1)}GL
SALLY L. CONKRIGHT, et al.,
Defendants.
CERTIFICATE OF SERVICE

{ hereby certify that on February 3, 2009, J electronically fled the

foregoing Motion to Stay This Action and Memorandum of Law with the Clerk of

the District using its CM/ECF system, which would then electronicaily notify the

following CM/ECF participant on this case:

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